 Case: 1:16-cv-08637 Document #: 4165 Filed: 01/13/21 Page 1 of 1 PageID #:277385



                          UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                              219 SOUTH DEARBORN STREET
                                 CHICAGO, ILLINOIS 60604


    NOTIFICATION OF CHANGE OF ATTORNEY ADDRESS OR NAME

1. Complete this form and e-file it, using the Notice of Change of Address event, in each
   case that you list below.
2. Update your contact information in CM/ECF. Click HERE for update instructions.


Name Philip J. Iovieno

Firm     Cadwalader, Wickersham & Taft LLP

Street Address 200 Liberty Street

City/State/Zip Code New York, NY 10281

Phone Number 212 504-6868

Email address philip.iovieno@cwt.com

ARDC (Illinois State Bar members, only)

If you have previously filed an appearance with this court using a different name, enter that name.


List all active cases in which you currently have an appearance on file.

Case Number       Case Title                                               Assigned Judge
16-CV-08637        In Re: Broiler Chicken Antitrust Litigation             Thomas M. Durkin




 /s/ Philip Iovieno
_______________________________                                  January 13, 2021
                                                                 _______________________
Signature of Attorney                                            Date


Rev. 01272016
